                 Case 2:05-cr-00066-MHT-WC Document 292 Filed 08/20/13 Page 1 of 5
 aA0 245D    (Rev. 12/07) Judgment in a Criminal Case for Revoeal ions
             Sheet I


                                     UNITED STATES DISTRICT COURT
                                                    MIDDLE District of ALABAMA
        UNITED STATES OF AMERICA                                         Judgment in a Criminal Case
                             V.                                          (For Revocation of Probation or Supervised Release)



                   JOHN DARTER                                           Case No          2:05cr66-02-MHT                       (WO)
                                                                         USM No           06101-017
                                                                                                  Tommie Goggans
                                                                                                  Defendant's Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s)            One, Two.. Three and Four of petition filed on 4/17/13 of the term of supervision.
L1 was found in violation of condition(s)                                            after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number              Nature of Violation                                                                Violation Ended
         1                    The defendant failed to answer truthfully all inquires by the probation            4/9/2013
                               officer and follow the instructions of the probation officer.
        2                     The defendant failed to answer truthfully all inquires by the probation                4/9/2013
                                officer and follow the instructions of the probation officer.
        3                     The defendant failed to notify the probation officer 10 days prior to a                4/9/2013
                                change in residence or employment.

       The defendant is sentenced as provided in pages 2 through              5      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
Ll The defendant has not violated condition(s)                               and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to payestitution,
                               r         the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 4181                                                August 19, 2013
                                                                                             Date of Imposition of Judgment
Defendant's Year of Birth:         1977

City and State of Defendant's Residence:                                                            Signature of Judge
                - Weturppka, AL
                                                                                   Myron H. Thompson. U.S. District Judge
                                                                                            Name and Title of Judge


                                                                                                              Date
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AC) 2451)   (Rev. 12/07) Judgment in a Criminal Case for Revocauons
            Sheet IA

                                                                                                  Judgment—Page    2 - of        5
DEFENDANT:    JOHN DARTER
CASE NUMBER: 2:05cr66-02-MHT

                                                      ADDITIONAL VIOLATIONS

                                                                                                                         Violation
Violation Number               Nature of Violation                                                                      Coneluded
        4                      The defendant failed to report to the probation officer and submit a truthful and    4/9/2013
                                 complete written report within the first five days of each month.
                     Case 2:05-cr-00066-MHT-WC Document 292 Filed 08/20/13 Page 3 of 5
AU 245D         (Rev 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2— Imprisonment

                                                                                                      Judgment — Page      of   5
DEFENDANT:                       JOHN DARTER
CASE NUMBER:                     2:05cr66-02-MHT


                                                                  IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of:

           92 Days (Time Served). The term of supervised release imposed on September 2, 2011 is hereby Revoked..




     0 The court makes the following recommendations to the Bureau of Prisons:




     X The defendant is remanded to the custody of the United States Marshal.

     O The defendant shall surrender to the United States Marshal for this district:
          0 at                                       0 a. m.        Lii p.m.        on
          D as notified by the United States Marshal.

     O The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          LII     before 2 p.m. on
          LI as notified by the United States Marshal.
          0 as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                           to

at                                                      with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                               By
                                                                                                DEPUTY UNITED STATES MARSHAL
                  Case 2:05-cr-00066-MHT-WC Document 292 Filed 08/20/13 Page 4 of 5
AU 245D     (Rev 12107) Judgment in a Criminal Case for Revocations
            Sheet 3  Supervised Release
                                                                                                   Judgment—Page      4_ of        _5
DEFENDANT:   JOHN DARTER
CASE NUMBER: 2;05cr66-02-MHT
                                                          SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:

Two Years



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
X     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
El The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
     or is a student, as directed by the probation officer. (Check, if applicable.)
E The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
I)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
          five days of each month;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant's compliance with such notification requirement.
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         (Rev. 207) Judgment in a Criminal Case for Revocations
         Sheet 3A - Supervised Release
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DEFENDANT:    JOHN DARTER
CASE NUMBER: 2:05cr66-02-MHT

                                     ADDITIONAL SUPERVISED RELEASE TERMS


1. The defendant shall participate in an inpatient drug treatment program at the Fellowship
House in Birmingham, Alabama, as directed by the U.S. Probation Office. The defendant
shall contribute to the cost of any treatment based on his ability to pay and the availability of third-party
payments.

2. The defendant shall participate in drug testing to determine whether he has reverted to
the use of illegal drugs.
3. The defendant shall submit to a search of your person, residence, office and vehicle
pursuant to the search policy of this court.
4. The defendant shall participate in a mental health treatment program approved by the
United States Probation Office and contribute to the cost based on his ability to pay
and availability of third-party payments
5. The defendant shall be placed on Home Confinement until he is admitted to the Fellowship House in
Birmingham, AL.
